






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00239-CV






David E. Shafer, Appellant


v.



The State of Texas, Appellee





FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT


NO. 29,913, HONORABLE ED MAGRE, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	Appellant David E. Shafer has informed the Court that he no longer wishes to pursue
his appeal because the parties "have entered into an agreement of settlement disposing of all issues,"
and he has filed notice requesting the Court to dismiss the appeal.  We construe appellant's notice
as a motion to dismiss, grant the motion, and dismiss the appeal.  Tex. R. App. P. 42.1(a).



					__________________________________________

					Jan P. Patterson, Justice

Before Justices Patterson, Waldrop and Henson

Dismissed on Appellant's Motion

Filed:   August 28, 2008


